             Case 2:18-cv-00352-RSM Document 68 Filed 01/12/21 Page 1 of 3




 1                                                         The Honorable Ricardo S. Martinez

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8    AMAZON.COM, INC., a Delaware corporation;
      and VERA BRADLEY DESIGNS, INC., an
 9    Indiana corporation,                          No. 2:18-cv-00352-RSM
10                             Plaintiffs,          STIPULATED JUDGMENT
11           v.
12    ZHEN WANG “JOHNNY” ZHANG, an
      individual; FABBY GLOBAL TRADING, LLC
13    d/b/a “CALIBEAN COLLECTION,” a Texas
      limited liability corporation; UNIVERSAL
14    EXPO GROUP INC., a Texas corporation; and
      JOHN DOES 1-10;
15
                               Defendants.
16

17
                                     SUMMARY OF JUDGMENT
18

19      1.    Judgment Creditor:                  Vera Bradley Designs, Inc.

20      2.    Judgment Debtors:                   Zhen Wang “Johnny” Zhang
                                                  Fabby Global Trading, LLC
21                                                Universal Expo Group Inc.
22
        3.    Attorneys for Judgment Creditor:    Bonnie MacNaughton
23                                                Zana Z. Bugaighis
                                                  Sarah Cox
24                                                Davis Wright Tremaine LLP
                                                  920 Fifth Avenue, Suite 3300
25                                                Seattle, Washington 98104-1610
26

27

     STIPULATED JUDGMENT                                                Davis Wright Tremaine LLP
                                                                                 L A W O F FI CE S
     (2:18-cv-00352-RSM) - 1                                               920 Fifth Avenue, Suite 3300
                                                                             Seattle, WA 98104-1610
                                                                      206.622.3150 main ꞏ 206.757.7700 fax
                Case 2:18-cv-00352-RSM Document 68 Filed 01/12/21 Page 2 of 3




 1      4.      Attorneys for Judgment Debtors:           Douglas H. Elliott
                                                          Merry Harrison
 2                                                        ELLIOTT & POLASEK, PLLC
                                                          6750 West Loop South, Suite 995
 3                                                        Bellaire, TX 77401
 4
        5       Amount of Principal Judgment:              US $500,000 minus any previous settlement
 5                                                         payments made to date of default
 6      6.      Awarded attorneys’ fees, expenses and In an amount to be established
 7              costs:

 8      7.      Rate of interest accrual on TOTAL          per 28 U.S.C. § 1961
                JUDGMENT amount
 9

10                                               JUDGMENT
11              THIS MATTER came before the undersigned Judge on Plaintiffs’ Motion to Enter
12    Stipulated Judgment (the “Motion”). Pursuant to the settlement of this case, Defendants Zhen
13    Wang “Johnny” Zhang, Fabby Global Trading, LLC, and Universal Expo Group Inc.
14    (“Defendants”) agreed to the entry of this Stipulated Judgment upon a default in their
15    settlement payments. The Court finds that Defendants have defaulted in their settlement
16    payments and, pursuant to the settlement agreement, the Court therefore makes a final
17    determination of the rights of the parties in this action.
18           The Court finds and concludes that Judgment shall be entered as follows:
19           IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Plaintiffs are granted
20    judgment against Defendants, in the amount of US $480,000, plus attorneys’ fees in an amount
21    to be established. This judgment shall bear interest at the statutory rate prescribed by 28 U.S.C.
22    § 1961.
23           DATED this 12th day of January, 2021.
24

25

26                                                   A
                                                     RICARDO S. MARTINEZ
27                                                   CHIEF UNITED STATES DISTRICT JUDGE

     STIPULATED JUDGMENT                                                            Davis Wright Tremaine LLP
                                                                                             L A W O F FI CE S
     (2:18-cv-00352-RSM) - 2                                                           920 Fifth Avenue, Suite 3300
                                                                                         Seattle, WA 98104-1610
                                                                                  206.622.3150 main ꞏ 206.757.7700 fax
             Case 2:18-cv-00352-RSM Document 68 Filed 01/12/21 Page 3 of 3




 1

 2    Presented by:
 3
      DAVIS WRIGHT TREMAINE LLP
 4    Attorneys for Amazon.com, Inc. and Vera Bradley Designs, Inc.
 5
      By /s/ Zana Z. Bugaighis
 6       Bonnie MacNaughton, WSBA #36110
         Zana Z. Bugaighis, WSBA #43614
 7       Sarah Cox, WSBA #46703
         920 Fifth Avenue, Suite 3300
 8       Seattle, Washington 98104-1610
         Telephone: (206) 622-3150
 9       Fax: (206) 757-7700
         E-mail: bonniemacnaughton@dwt.com
10                zanabugaighis@dwt.com
                  sarahcox@dwt.com
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

     STIPULATED JUDGMENT                                                Davis Wright Tremaine LLP
                                                                                 L A W O F FI CE S
     (2:18-cv-00352-RSM) - 3                                               920 Fifth Avenue, Suite 3300
                                                                             Seattle, WA 98104-1610
                                                                      206.622.3150 main ꞏ 206.757.7700 fax
